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SK/JMH
F.#2011R00298

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
– – – – – – – – – – – – – – – – –X

UNITED STATES OF AMERICA                          NOTICE

       - against -                                No. 17-CR-449 (NGG)

MIRSAD KANDIC,

                        Defendant.

– – – – – – – – – – – – – – – – –X

                       NOTICE OF INTENT TO USE FOREIGN
                 INTELLIGENCE SURVEILLANCE ACT INFORMATION

               The United States, through its attorney, Richard P. Donoghue, United States

Attorney for the Eastern District of New York, hereby provides notice to defendant MIRSAD

KANDIC and to the Court that, pursuant to Title 50, United States Code, Sections 1806(c),

1825(d), and 1881e(a), the United States intends to offer into evidence, or otherwise use or

disclose in any proceedings in this matter, information obtained or derived from electronic




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surveillance, physical search, and acquisitions conducted pursuant to the Foreign Intelligence

Surveillance Act of 1978, as amended, 50 U.S.C. §§ 1801-1812, 1821-1829, and 1881a.

Dated: August 23, 2018
       Brooklyn, New York

                                                  Respectfully submitted,

                                                  RICHARD P. DONOGHUE
                                                  United States Attorney

                                           By:       /s/
                                                  Saritha Komatireddy
                                                  J. Matthew Haggans
                                                  Assistant U.S. Attorneys
                                                  (718) 254-7000

cc:    Clerk of Court (NGG) (By ECF)
       Defense counsel (By ECF)
